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                  IN THE DISTRICT COURT OF THE UNITED STATES

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,
                                                               Case No. 14 CR 3609 JB
       v.

BENTLEY STREETT,

               Defendant.

   UNOPPOSED MOTION TO AMEND STIPULATED SENTENCING PLEADINGS
                       SCHEDULING ORDER


       COMES NOW Defendant Bentley Streett, by and through his counsel, Paul M.

Linnenburger of Rothstein Donatelli LLP, and respectfully requests the Court amend the

Stipulated Sentencing Pleadings Scheduling Order entered May 27, 2021, and continue this matter

for final sentencing hearing for a period of sixty (60) days. In support of thereof, Mr. Streett states

as follows:

       1.      On October 3, 2014, Mr. Streett was arrested and charged via Criminal Complaint

with violations of 18 U.S.C. §2422(b), §1470 and §2251(a) and (e). (Doc. 1).

       2.      On December 7, 2018, Mr. Streett entered a conditional plea before United States

Magistrate Judge Karen B. Monzen. (Doc. 185).

       3.      Following litigation on a motion to withdraw the plea and withdrawal of a second

such motion, the parties conferred to provide a Stipulated Sentencing Pleadings Scheduling Order

which was entered by the Court on May 27, 2021.

       4.      Pursuant to said Scheduling Order, the parties were to concurrently submit

sentencing memoranda on August 5, 2021, and a sentencing hearing was to be conducted on
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August 19, 2021.

        5.      In late July, undersigned counsel notified the Government that the defense would

require a continuance of remaining sentencing deadlines in this matter to complete mitigation work

and because defense counsel was unexpectedly unavailable for an unknown period of time due to

a serious family medical situation that remains ongoing.

        6.      In order to provide a full and appropriate sentencing presentation to the Court, the

defense procured mitigation evidence which was not available for consideration until August 6,

2021.

        7.      Defense counsel’s availability has been extremely hampered for a period of

approximately two weeks due to the need to attend to said serious family medical situation. As a

result, counsel has not had an opportunity to prepare an appropriate and complete sentencing

memorandum for the Court.

        8.      Counsel apologizes for the delay in filing this motion and alerting the Court to the

need for this continuance as he has been attempting to determine when he will be in a position to

return his attention fully to the matters presented in this case for sentencing.

        9.      The defense requests this Court amend the Scheduling Order to call for

contemporaneous filing of sentencing memoranda in thirty (30) days.

        10.     In order to provide the Court sufficient time to consider the filings and for the

parties to prepare for sentencing, including the potential need to arrange for witness participation

if necessary, the defense requests this matter be continued and set for sentencing in approximately

sixty (60) days from the current sentencing date of August 19, 2021 (mid-to-late October).

        11.     Counsel believes the above requested time is necessary to meaningfully prepare

and complete an appropriate sentencing memorandum, including consideration of recently




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obtained mitigation material, to disclose all necessary materials, and to ensure counsel’s

availability.

        12.     Counsel affirmatively represents to this Court that he has discussed at length the

requested continuance and reasons therefor with Defendant and that Defendant is agreement

therewith.

        13.     Undersigned counsel contacted Assistant United States Attorney Sarah J. Mease

concerning this Motion and the relief requested herein and Ms. Mease indicated she has no

objection thereto.

        WHEREFORE, Defendant Bentley Streett respectfully requests that the Court amend the

Sentencing Pleadings Scheduling Order as set forth herein.

                                             Respectfully submitted:

                                             ROTHSTEIN DONATELLI LLP

                                             /s/ Paul M. Linnenburger
                                       By:
                                             PAUL M. LINNENBURGER
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                                             Albuquerque, NM 87102
                                             Ph: (505) 243-1443
                                             Fax: (505) 242-7845

                                             Attorney for Defendant Bentley Streett




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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 6th day of August, 2021, I filed this pleading

electronically through the CM/ECF system, which caused the following counsel to be served by

electronic means, as more fully reflected on the Notice of Electronic Filing:

       Sarah J. Mease
       U.S. Attorney’s Office
       District of New Mexico
       201 Third Street NW
       Albuquerque, New Mexico 87102

                                                     /s/ Paul M. Linnenburger

                                                     Rothstein Donatelli LLP




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